
33 N.Y.2d 549 (1973)
In the Matter of Kahn &amp; Jacobs, Respondent,
v.
State Tax Commission, Appellant.
Court of Appeals of the State of New York.
Argued May 30, 1973.
Decided July 2, 1973.
Louis J. Lefkowitz, Attorney-General (Vincent P. Molineaux and Ruth Kessler Toch of counsel), for appellant.
Donald P. Wefer, Eleanor M. Fox and Dickson G. Brown for respondent.
Concur: Chief Judge FULD and Judges BURKE, BREITEL, JASEN, GABRIELLI, JONES and WACHTLER.
Order affirmed, with costs, on the opinion at the Appellate Division.
